                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

United States of America,                )
                            Plaintiff,   )
                                         )
             v.                          )     No. 2:12-cr-04044-FJG-3
                                         )
ADOLFO ALMAZAN-HERNANDEZ,                )
                   Defendant.            )


                        ACCEPTANCE OF PLEA OF GUILTY
                          AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

Matt J. Whitworth (Doc. #158 filed on October 10, 2013), to which no objection has

been filed, the plea of guilty to Counts One and Two of the Indictment (and forfeiture

count) which was filed on June 27, 2012, is now accepted. Defendant is adjudged

guilty of such offense(s). Sentencing will be set by subsequent order of the court.




                                                /s/ Fernando J. Gaitan, Jr.
                                               Fernando J. Gaitan, Jr.
                                               Chief United States District Judge

Dated: November 7, 2013
Kansas City, Missouri




       Case 2:12-cr-04044-BP        Document 165    Filed 11/07/13    Page 1 of 1
